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BP’S INITIAL PROPOSAL REGARDING CLAIM NO. 88708

INTRODUCTION

Claimant inthis appl 2 CY occ in Tr
The Settlement Program awarded Claimant CR pre RTP SREP post-RTP).

This award was made despite the fact that Claimant’s gross billings and payroll costs increased

in 2010, indicating 2s actually busier and rendered more services in 2010 than

during the Benchmark Year of 2009. Indeed, the award is being driven not by a decrease in

economic activity after the Spill, but rather ag

SE suring the post-Spill Compensation Period.

Claimant’s own economic data show that Claimant is not a class member and thus may
not file a claim or receive compensation under the Settlement Agreement. In order to be a class

member, one must have incurred loss as a result of the Spill. Because we know that Claimant’s

downturn in variable profit was caused by
EY 52 Cisisant’s Profit & Loss

Statements, it simply is not possible that the alleged loss was caused by the Spill.

Even if Claimant were a class member, the Settlement Program misclassified certain
variable expenses as fixed, which resulted in overcompensation.

BP submits an Initial Proposal of $0, as the record evidence does not support an award of

any compensation.
